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                                                                           ELECTRONICALLY FILED
 UNITED STATES DISTRICT COURT
                                                                           DOC #: _________________
 SOUTHERN DISTRICT OF NEW YORK
                                                                           DATE FILED: 4/23/2025
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                                                                   :
 JOEL PENA,                                                        :
                                                                   :
                                                   Plaintiff,      :          1:24-cv-6378-GHW
                                                                   :
                               -v-                                 :              ORDER
                                                                   :
 MIAMI HEAT LIMITED PARTNERSHIP, et al., :
                                                                   :
                                                Defendants. :
                                                                   :
------------------------------------------------------------------ X
 GREGORY H. WOODS, United States District Judge:

          By letter dated April 22, 2025, the parties filed a joint letter regarding a number of discovery

 disputes. Dkt. No. 38. The Court will hold a conference on April 25, 2025 at 1:00 p.m. to discuss

 the issues outlined in the parties’ letter. The conference will be conducted by telephone. The parties

 are directed to the Court’s Individual Rule of Practice in Civil Cases, which can be found on the

 Court’s website. Specifically, Individual Rule 2(C) contains the dial-in information and the relevant

 instructions for the conference. The parties should call into the Court’s dedicated conference line at

 (855) 244-8681, and enter Access Code 2318-572-4826, followed by the pound (#) key. Defendants

 are directed to serve a copy of this order on Plaintiff.

          SO ORDERED.

 Dated: April 23, 2025
        New York, New York                                         __________________________________
                                                                          GREGORY H. WOODS
                                                                         United States District Judge
